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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 JULIA KHAN,

                                            Plaintiff,                    21 Civ. 1476 (PAE)
                          -v-
                                                                                ORDER
 Z & D TOUR, INC., FEDEX GROUND PACKAGE
 SYSTEM, INC. and PENSKE TRUCK LEASING CORP.,

                                            Defendants.


PAUL A. ENGELMAYER, District Judge:

        At yesterday’s conference, the Court stayed discovery pending the resolution of the

motion filed by FedEx Ground Package System, Inc. (“FedEx”) to dismiss for lack of

jurisdiction or, in the alternative, to transfer to the Western District of Pennsylvania. Dkt. 12.

        Plaintiff’s opposition, or statement that plaintiff does not oppose, FedEx’s motion to

transfer is due April 29, 2021. Z&D Tour, Inc. and Penske Truck Leasing Corp. are directed to

file forthwith letters indicating whether they intend to join or oppose FedEx’s motion to dismiss

or, in the alterative, transfer the case.


        SO ORDERED.

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                                                                PAUL A. ENGELMAYER
                                                                United States District Judge
Dated: April 9, 2021
       New York, New York
